Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 1 of 36 PageID #: 3565




  Exhibit 5-3
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 2 of 36 PageID #: 3566
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 3 of 36 PageID #: 3567
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 4 of 36 PageID #: 3568
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 5 of 36 PageID #: 3569
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 6 of 36 PageID #: 3570
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 7 of 36 PageID #: 3571
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 8 of 36 PageID #: 3572
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 9 of 36 PageID #: 3573
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 10 of 36 PageID #: 3574
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 11 of 36 PageID #: 3575
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 12 of 36 PageID #: 3576
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 13 of 36 PageID #: 3577
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 14 of 36 PageID #: 3578
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 15 of 36 PageID #: 3579
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 16 of 36 PageID #: 3580
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 17 of 36 PageID #: 3581
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 18 of 36 PageID #: 3582
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 19 of 36 PageID #: 3583
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 20 of 36 PageID #: 3584
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 21 of 36 PageID #: 3585
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 22 of 36 PageID #: 3586
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 23 of 36 PageID #: 3587
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 24 of 36 PageID #: 3588
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 25 of 36 PageID #: 3589
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 26 of 36 PageID #: 3590
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 27 of 36 PageID #: 3591
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 28 of 36 PageID #: 3592
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 29 of 36 PageID #: 3593
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 30 of 36 PageID #: 3594
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 31 of 36 PageID #: 3595
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 32 of 36 PageID #: 3596
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 33 of 36 PageID #: 3597
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 34 of 36 PageID #: 3598
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 35 of 36 PageID #: 3599
Case 2:09-cv-01207-JS-AYS Document 184-7 Filed 08/17/16 Page 36 of 36 PageID #: 3600
